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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
UNITED STATES or AMERICA PLAINTIFF
V. CIVIL ACTION NO: 3:24-cy-00712-HTW-ASH
MISSISSIPPE STATE SENATE DEFENDANT

ORDER GRANTING UNOPPOSED AMENDED MOTION TO STAY
THE ENTIRITY OF THE PROCEEDINGS — INCLUDING THE
DEADLINE FOR RESPONSIVE PLEADINGS

This cause comes before the Court on Defendant, the Mississippi State
Senate’s Unopposed Amended Motion to Stay the Entirety of the Proceedings—
Including the Deadline for Responsive Pleadings [Doc. 21] in the above-styled
cause. The Court finds that the above-referenced unopposed motion is well-taken
and should be GRANTED. Accordingly, the Court ORDERS the following:

1. All proceedings, including the responsive pleading deadline, are hereby
stayed for ninety (90) days from the date of the entry of this Order. The purpose of
the Stay is to allow the Plaintiff, in accordance with the Department of Justice’s
January 22, 2025, internal memorandum, to review this matter, including whether
the alleged discriminatee is exempt from Title VII of the Civil Rights Act of 1964.

2. The Senate shall have the right to seek an extension of the Stay if
Plaintiff, at least seven days prior to the Stay’s expiration, has not provided written

confirmation to the Senate that the purpose of the Stay, noted above, has been
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completed, and in that event, the Plaintiff shall not unreasonably withhold its consent
to any necessary extension of the Stay.

ORDERED, this the @@ day of February, 2025.

ANDREW S. HARRIS _
UNITED STATES MAGISTRATE JUDGE

Prepared by:
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